        Case 19-17854-amc                       Doc 81         Filed 10/21/24 Entered 10/21/24 11:47:10                     Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
 Debtor 1                  Daniel A Formica


     Debtor 2              Marcie A Formica
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          19-17854-AMC




Form 4100N
Notice of Final Cure Payment                                                                                                         10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                   PNC BANK NA                                                              16-2

 Last 4 digits of any number you use to identify the debtor's account                         2   9   1   6

 Property Address:                              1146 SCHOOL HOUSE LANE
                                                QUAKERTOWN, PA 18951




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $    18,428.35

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $    18,428.35

 c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):                   (c)   $          -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d)              $          -0-
        paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $          -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $          -0-

 g. Total. Add lines b, d, and f.                                                                                     (g)   $    18,428.35



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     Daniel A Formica                                                  Case number (if known) 19-17854-AMC
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date     10/21/2024


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     Daniel A Formica                                            Case number (if known) 19-17854-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                     Creditor Type               Date       Check # Posting Description                  Amount
16       PNC BANK NA              Pre-Petition Arrears        11/20/2020 17210391Disbursement To Creditor/Principal    204.11
16       PNC BANK NA              Pre-Petition Arrears        12/21/2020 17211597Disbursement To Creditor/Principal    386.65
16       PNC BANK NA              Pre-Petition Arrears        01/22/2021 17212907Disbursement To Creditor/Principal    289.99
16       PNC BANK NA              Pre-Petition Arrears        02/23/2021 17214210Disbursement To Creditor/Principal    193.33
16       PNC BANK NA              Pre-Petition Arrears        03/19/2021 17215403Disbursement To Creditor/Principal    773.32
16       PNC BANK NA              Pre-Petition Arrears        04/23/2021 17216547Disbursement To Creditor/Principal    374.46
16       PNC BANK NA              Pre-Petition Arrears        05/25/2021 17217680Disbursement To Creditor/Principal    473.97
16       PNC BANK NA              Pre-Petition Arrears        06/25/2021 17218759Disbursement To Creditor/Principal    374.18
16       PNC BANK NA              Pre-Petition Arrears        07/23/2021 17219809Disbursement To Creditor/Principal    374.19
16       PNC BANK NA              Pre-Petition Arrears        08/20/2021 17220844Disbursement To Creditor/Principal    374.18
16       PNC BANK NA              Pre-Petition Arrears        09/24/2021 17221899Disbursement To Creditor/Principal    467.73
16       PNC BANK NA              Pre-Petition Arrears        10/22/2021 17222870Disbursement To Creditor/Principal    380.42
16       PNC BANK NA              Pre-Petition Arrears        11/19/2021 17223806Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        12/17/2021 17224750Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        01/21/2022 17225725Disbursement To Creditor/Principal    478.12
16       PNC BANK NA              Pre-Petition Arrears        02/18/2022 17226705Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        03/18/2022 17227664Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        04/22/2022 8001449 Disbursement To Creditor/Principal    478.12
16       PNC BANK NA              Pre-Petition Arrears        05/17/2022 8001544 Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        06/27/2022 8001633 Disbursement To Creditor/Principal    478.12
16       PNC BANK NA              Pre-Petition Arrears        07/22/2022 8001745 Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        08/19/2022 8001847 Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        09/23/2022 8001951 Disbursement To Creditor/Principal    478.12
16       PNC BANK NA              Pre-Petition Arrears        10/21/2022 8002054 Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        11/18/2022 8002163 Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        12/16/2022 8002258 Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        01/20/2023 8002400 Disbursement To Creditor/Principal    478.12
16       PNC BANK NA              Pre-Petition Arrears        02/17/2023 8002489 Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        03/17/2023 8002622 Disbursement To Creditor/Principal    382.50
16       PNC BANK NA              Pre-Petition Arrears        04/21/2023 8002719 Disbursement To Creditor/Principal    476.05
16       PNC BANK NA              Pre-Petition Arrears        05/19/2023 8002842 Disbursement To Creditor/Principal    378.34
16       PNC BANK NA              Pre-Petition Arrears        06/16/2023 8002997 Disbursement To Creditor/Principal    378.34
16       PNC BANK NA              Pre-Petition Arrears        07/21/2023 8003129 Disbursement To Creditor/Principal    472.93
16       PNC BANK NA              Pre-Petition Arrears        08/18/2023 8003249 Disbursement To Creditor/Principal    378.34
16       PNC BANK NA              Pre-Petition Arrears        09/22/2023 8003383 Disbursement To Creditor/Principal    472.93
16       PNC BANK NA              Pre-Petition Arrears        10/20/2023 8003509 Disbursement To Creditor/Principal    376.26
16       PNC BANK NA              Pre-Petition Arrears        11/17/2023 8003632 Disbursement To Creditor/Principal    374.19
16       PNC BANK NA              Pre-Petition Arrears        12/15/2023 8003764 Disbursement To Creditor/Principal    187.09
16       PNC BANK NA              Pre-Petition Arrears        01/22/2024 8003887 Disbursement To Creditor/Principal    374.19
16       PNC BANK NA              Pre-Petition Arrears        02/16/2024 8004017 Disbursement To Creditor/Principal    374.18
16       PNC BANK NA              Pre-Petition Arrears        03/15/2024 8004140 Disbursement To Creditor/Principal    374.19
16       PNC BANK NA              Pre-Petition Arrears        04/19/2024 8004282 Disbursement To Creditor/Principal    374.19
16       PNC BANK NA              Pre-Petition Arrears        05/24/2024 8004413 Disbursement To Creditor/Principal    786.48
16       PNC BANK NA              Pre-Petition Arrears        06/21/2024 8004546 Disbursement To Creditor/Principal    546.06
16       PNC BANK NA              Pre-Petition Arrears        07/19/2024 8004674 Disbursement To Creditor/Principal    457.46
                                                                                      Total for Part 2 - B:         18,428.35




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